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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.



                                     JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated December 6, 2021, the parties in

United States v. Google LLC and State of Colorado v. Google LLC submit the following Joint

Status Report updating the Court on the status of the November Rule 30(b)(6) notice. The parties

continue to meet and confer and exchange information regarding the notice and, at this time,

there are no disputed issues ripe for the Court’s consideration.
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Dated: December 15, 2021            Respectfully submitted,

                                    By: /s/ John E. Schmidtlein
                                    John E. Schmidtlein (D.C. Bar No. 441261)
                                    Benjamin M. Greenblum (D.C. Bar No. 979786)
                                    Colette T. Connor (D.C. Bar No. 991533)
                                    Williams & Connolly LLP
                                    725 12th Street, NW
                                    Washington, DC 20005
                                    Tel: 202-434-5000
                                    jschmidtlein@wc.com
                                    bgreenblum@wc.com
                                    cconnor@wc.com

                                    Susan A. Creighton (D.C. Bar No. 978486)
                                    Franklin M. Rubinstein (D.C. Bar No. 476674)
                                    Wilson Sonsini Goodrich & Rosati P.C.
                                    1700 K St, NW
                                    Washington, DC 20006
                                    Tel: 202-973-8800
                                    screighton@wsgr.com
                                    frubinstein@wsgr.com

                                    Mark S. Popofsky (D.C. Bar No. 454213)
                                    Ropes & Gray LLP
                                    2099 Pennsylvania Avenue, NW
                                    Washington, DC 20006
                                    Tel: 202-508-4624
                                    Mark.Popofsky@ropesgray.com

                                    Counsel for Defendant Google LLC




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                             By: /s/ Kenneth M. Dintzer
                             Kenneth M. Dintzer
                             Jeremy M. P. Goldstein
                             U.S. Department of Justice, Antitrust Division
                             Technology & Digital Platforms Section
                             450 Fifth Street NW, Suite 7100
                             Washington, DC 20530
                             Kenneth.Dintzer2@usdoj.gov
                             Counsel for Plaintiff United States

                             By:     /s/ Jonathan R. Carter
                             Leslie Rutledge, Attorney General
                             Johnathan R. Carter, Assistant Attorney General
                             Office of the Attorney General, State of Arkansas
                             323 Center Street, Suite 200
                             Little Rock, Arkansas 72201
                             Johnathan.Carter@arkansasag.gov

                             Counsel for Plaintiff State of Arkansas

                             By:     /s/ Adam Miller
                             Rob Bonta, Attorney General
                             Ryan J. McCauley, Deputy Attorney General
                             Adam Miller, Deputy Attorney General
                             Paula Blizzard, Supervising Deputy Attorney
                             General
                             Kathleen Foote, Senior Assistant Attorney General
                             Office of the Attorney General,
                             California Department of Justice
                             455 Golden Gate Avenue
                             Suite 11000
                             San Francisco, CA 94102
                             Adam.Miller@doj.ca.gov
                             Counsel for Plaintiff State of California

                             By:     /s/ Lee Istrail
                             Ashley Moody, Attorney General
                             R. Scott Palmer, Interim Co-Director, Antitrust
                             Division
                             Nicholas D. Niemiec, Assistant Attorney General
                             Lee Istrail, Assistant Attorney General
                             Office of the Attorney General, State of Florida
                             PL-01 The Capitol
                             Tallahassee, Florida 32399
                             Lee.Istrail@myfloridalegal.com
                             Scott.Palmer@myfloridalegal.com

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                             Counsel for Plaintiff State of Florida

                             By:     /s/ Daniel Walsh
                             Christopher Carr, Attorney General
                             Margaret Eckrote, Deputy Attorney General
                             Daniel Walsh, Senior Assistant Attorney General
                             Dale Margolin Cecka, Assistant Attorney General
                             Office of the Attorney General, State of Georgia
                             40 Capitol Square, SW
                             Atlanta, Georgia 30334-1300
                             dcecka@law.georgia.gov
                             Counsel for Plaintiff State of Georgia

                             By:     /s/ Scott L. Barnhart
                             Theodore Edward Rokita, Attorney General Scott
                             L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Erica Sullivan, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Scott.Barnhart@atg.in.gov
                             Counsel for Plaintiff State of Indiana

                             By:     /s/ Philip R. Heleringer
                             Daniel Cameron, Attorney General
                             J. Christian Lewis, Executive Director of
                             Consumer Protection
                             Philip R. Heleringer, Deputy Executive Director of
                             Consumer Protection
                             Jonathan E. Farmer, Assistant Attorney General
                             Office of the Attorney General, Commonwealth of
                             Kentucky
                             1024 Capital Center Drive, Suite 200
                             Frankfort, Kentucky 40601
                             Phone: 502-696-5647
                             philip.heleringer@ky.gov

                             Counsel for Plaintiff Commonwealth of Kentucky

                             By:     /s/ Christopher Alderman
                             Jeff Landry, Attorney General
                             Christopher J. Alderman, Assistant Attorney


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                             General
                             Office of the Attorney General, State of Louisiana
                             Public Protection Division
                             1885 North Third St.
                             Baton Rouge, Louisiana 70802
                             AldermanC@ag.louisiana.gov
                             Counsel for Plaintiff State of Louisiana

                             By:     /s/ Scott Mertens
                             Dana Nessel, Attorney General
                             Scott Mertens, Assistant Attorney General
                             Michigan Department of Attorney General
                             P.O. Box 30736
                             Lasing, MI 48909
                             MertensS@michigan.gov
                             Counsel for Plaintiff State of Michigan

                             By:     /s/ Stephen Hoeplinger
                             Stephen M. Hoeplinger
                             Assistant Attorney General
                             Missouri Attorney General’s Office
                             615 E. 13th Street, Suite 401
                             Kansas City, MO 64106
                             Stephen.Hoeplinger@ago.mo.gov
                             Counsel for Plaintiff State of Missouri

                             By:     /s/ Hart Martin
                             Lynn Fitch, Attorney General
                             Hart Martin, Special Assistant Attorney General
                             Crystal Utley Secoy, Assistant Attorney General
                             Office of the Attorney General, State of
                             Mississippi
                             P.O. Box 220
                             Jackson, Mississippi 39205
                             Hart.Martin@ago.ms.gov
                             Counsel for Plaintiff State of Mississippi

                             By:    /s/ Mark Mattioli
                             Austin Knudsen, Attorney General
                             Mark Mattioli, Chief, Office of Consumer




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                             Protection
                             Office of the Attorney General, State of Montana
                             P.O. Box 200151
                             555 Fuller Avenue, 2nd Floor
                             Helena, MT 59620-0151
                             mmattioli@mt.gov
                             Counsel for Plaintiff State of Montana

                             By:     /s/ Rebecca M. Hartner
                             Rebecca M. Hartner, Assistant Attorney General
                             Alan Wilson, Attorney General
                             W. Jeffrey Young, Chief Deputy Attorney General
                             C. Havird Jones, Jr., Senior Assistant Deputy
                             Attorney General
                             Mary Frances Jowers, Assistant Deputy Attorney
                             General
                             Office of the Attorney General, State of South
                             Carolina
                             1000 Assembly Street
                             Rembert C. Dennis Building
                             P.O. Box 11549
                             Columbia, South Carolina 29211-1549
                             RHartner@scag.gov
                             Counsel for Plaintiff State of South Carolina

                             By:     /s/ Bret Fulkerson
                             Bret Fulkerson
                             Office of the Attorney General, Antitrust Division
                             300 West 15th Street
                             Austin, Texas 78701
                             Bret.Fulkerson@oag.texas.gov
                             Counsel for Plaintiff State of Texas

                             By:    /s/ Gwendolyn J. Lindsay Cooley
                             Joshua L. Kaul, Attorney General
                             Gwendolyn J. Lindsay Cooley, Assistant Attorney
                             General
                             Wisconsin Department of Justice
                             17 W. Main St.
                             Madison, WI 53701
                             Gwendolyn.Cooley@Wisconsin.gov
                             Counsel for Plaintiff State of Wisconsin




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                                   By: /s/ Jonathan B. Sallet.

                                   Jonathan B. Sallet, Special Assistant
                                   Attorney General (D.C. Bar No. 336198)
                                   Steven Kaufmann, Deputy Attorney General
                                   (D.C. Bar No. 1022365 inactive)
                                   Diane R. Hazel, First Assistant Attorney
                                   General (D.C. Bar No. 1011531 inactive)
                                   Colorado Office of the Attorney General
                                   1300 Broadway, 7th Floor
                                   Denver, CO 80203
                                   Tel: 720-508-6000
                                   Jon.Sallet@coag.gov
                                   Steve.Kaufmann@coag.gov
                                   Diane.Hazel@coag.gov

                                   Counsel for Plaintiff Colorado

                                   Joseph Conrad
                                   Office of the Attorney General of Nebraska
                                   Consumer Protection Division
                                   2115 State Capitol Building
                                   Lincoln, NE 68509
                                   402-471-3840
                                   joseph.conrad@nebraska.gov

                                   Counsel for Plaintiff Nebraska

                                   Brunn W. (Beau) Roysden III, Solicitor
                                   General
                                   Michael S. Catlett, Deputy Solicitor General
                                   Dana R. Vogel, Unit Chief Counsel
                                   Christopher M. Sloot, Assistant Attorney
                                   General
                                   Arizona Office of the Attorney General
                                   2005 North Central Avenue
                                   Phoenix, Arizona 85004
                                   Tel: (602) 542-3725
                                   Dana.Vogel@azag.gov

                                   Counsel for Plaintiff Arizona




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                                   Max Merrick Miller
                                   Attorney General’s Office for the State of
                                   Iowa
                                   1305 East Walnut Street, 2nd Floor
                                   Des Moines, IA 50319
                                   (515) 281-5926
                                   Max.Miller@ag.Iowa.gov

                                   Counsel for Plaintiff Iowa

                                   Elinor R. Hoffmann
                                   John D. Castiglione
                                   Morgan J. Feder
                                   Office of the Attorney General of New York
                                   28 Liberty Street, 21st Floor
                                   New York, NY 10005
                                   212-416-8513
                                   elinor.hoffmann@ag.ny.gov
                                   john.castiglione@ag.ny.gov
                                   morgan.feder@ag.ny.gov

                                   Counsel for Plaintiff New York

                                   Jonathan R. Marx
                                   Jessica Vance Sutton
                                   North Carolina Department of Justice
                                   114 W. Edenton St.
                                   Raleigh, NC 27603
                                   919-716-6000
                                   Jmarx@Ncdoj.Gov
                                   jsutton2@ncdoj.gov

                                   Counsel for Plaintiff North Carolina

                                   J. David McDowell
                                   Jeanette Pascale
                                   Christopher Dunbar
                                   Office of The Attorney General & Reporter
                                   P.O. Box 20207
                                   Nashville, TN 37202
                                   615-741-3519
                                   david.mcdowell@ag.tn.gov
                                   jenna.pascale@ag.tn.gov
                                   chris.dunbar@ag.tn.gov




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                                   Counsel for Plaintiff Tennessee

                                   Tara Pincock
                                   Attorney General's Office Utah
                                   160 E 300 S, Ste 5th Floor
                                   PO Box 140874
                                   Salt Lake City, UT 84114
                                   801-366-0305
                                   tpincock@agutah.gov

                                   Counsel for Plaintiff Utah

                                   Jeff Pickett
                                   Senior Assistant Attorney General
                                   jeff.pickett@alaska.gov
                                   State of Alaska, Department of Law
                                   Office of the Attorney General
                                   1031 W. Fourth Avenue, Suite 200
                                   Anchorage, Alaska 99501
                                   Tel: (907) 269-5100

                                   Counsel for Plaintiff Alaska

                                   Nicole Demers
                                   State of Connecticut Office of the Attorney
                                   General
                                   165 Capitol Avenue, Ste 5000
                                   Hartford, CT 06106
                                   860-808-5202
                                   nicole.demers@ct.gov

                                   Counsel for Plaintiff Connecticut

                                   Michael Andrew Undorf
                                   Delaware Department of Justice
                                   Fraud and Consumer Protection Division
                                   820 N. French St., 5th Floor
                                   Wilmington, DE 19801
                                   302-577-8924
                                   michael.undorf@delaware.gov

                                   Counsel for Plaintiff Delaware




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                                    Catherine A. Jackson (D.C. Bar No.
                                    1005415)
                                    Elizabeth Gentry Arthur
                                    David Brunfeld
                                    Office of the Attorney General for the
                                    District of Columbia
                                    400 6th Street NW
                                    Washington, DC 20001
                                    202-724-6514
                                    catherine.jackson@dc.gov
                                    elizabeth.arthur@dc.gov
                                    david.brunfeld@dc.gov

                                    Counsel for Plaintiff District of Columbia

                                    Leevin Taitano Camacho, Attorney General
                                    Fred Nishihira, Chief, Consumer Protection
                                    Division
                                    Benjamin Bernard Paholke, Assistant
                                    Attorney General
                                    Office of the Attorney General of Guam
                                    590 S. Marine Corps Drive, Suite 901
                                    Tamuning, Guam 96913
                                    Tel: (671)-475-3324
                                    bpaholke@oagguam.org

                                    Counsel for Plaintiff Guam

                                    Rodney I. Kimura
                                    Office of the Attorney General of Hawaii
                                    Commerce & Economic Development
                                    425 Queen Street
                                    Honolulu, HI 96813
                                    808-586-1180
                                    rodney.i.kimura@hawaii.gov

                                    Counsel for Plaintiff Hawaii

                                    Brett DeLange
                                    Office of the Idaho Attorney General
                                    Consumer Protection Division
                                    954 W. State St., 2nd Fl.
                                    PO Box 83720
                                    Boise, ID 83720-0010
                                    208-334-4114
                                    brett.delange@ag.idaho.gov


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                                    Counsel for Plaintiff Idaho

                                    Erin L. Shencopp
                                    Blake Harrop
                                    Joseph Chervin
                                    Office of the Attorney General of Illinois
                                    100 W. Randolph St.
                                    Chicago, IL 60601
                                    312-793-3891
                                    eshencopp@atg.state.il.us
                                    bharrop@atg.state.il.us
                                    jchervin@atg.state.il.us

                                    Counsel for Plaintiff Illinois

                                    Lynette R. Bakker
                                    Office of the Attorney General of Kansas
                                    Consumer Protection & Antitrust
                                    120 S.W. 10th Avenue, Ste 2nd Floor
                                    Topeka, KS 66612-1597
                                    785-368-8451
                                    lynette.bakker@ag.ks.gov

                                    Counsel for Plaintiff Kansas

                                    Christina M. Moylan
                                    Office of the Attorney General of Maine
                                    6 State House Station
                                    Augusta, ME 04333-0006
                                    207-626-8838
                                    christina.moylan@maine.gov

                                    Counsel for Plaintiff Maine

                                    Schonette J. Walker
                                    Assistant Attorney General
                                    Deputy Chief, Antitrust Division
                                    Office of the Attorney General
                                    swalker@oag.state.md.us

                                    Gary Honick
                                    Assistant Attorney General
                                    Office of the Attorney General
                                    200 St. Paul Place, 19th Floor
                                    Baltimore, MD 21202


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                                    410-576-6480
                                    ghonick@oag.state.md.us

                                    Counsel for Plaintiff Maryland

                                    Matthew B. Frank, Assistant Attorney
                                    General Antitrust Division
                                    William T. Matlack, Assistant Attorney
                                    General
                                    Chief, Antitrust Division
                                    Michael B. MacKenzie, Assistant Attorney
                                    General
                                    Deputy Chief, Antitrust Division
                                    Office of the Attorney General
                                    One Ashburton Place, 18th Fl.
                                    Boston, MA 02108
                                    Tel: (617) 727-2200
                                    Matthew.Frank@mass.gov
                                    William.Matlack@mass.gov
                                    Michael.Mackenzie@mass.gov

                                    Counsel for Plaintiff Massachusetts

                                    Justin Moor, Assistant Attorney General
                                    445 Minnesota Street, Suite 1400
                                    St. Paul, Minnesota 55101-2130
                                    (651) 757-1060
                                    justin.moor@ag.state.mn.us

                                    Counsel for Plaintiff Minnesota

                                    Marie W.L. Martin
                                    Michelle Christine Newman
                                    Lucas J. Tucker
                                    Nevada Office of the Attorney General
                                    Bureau of Consumer Protection
                                    100 N. Carson Street
                                    Carson City, NV 89701
                                    775-624-1244
                                    mwmartin@ag.nv.gov
                                    mnewman@ag.nv.gov
                                    ltucker@ag.nv.gov

                                    Counsel for Plaintiff Nevada




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                                    Brandon Garod
                                    Office of Attorney General of New
                                    Hampshire
                                    33 Capitol Street
                                    Concord, NH 03301
                                    603-271-1217
                                    brandon.h.garod@doj.nh.gov

                                    Counsel for Plaintiff New Hampshire

                                    Robert Holup
                                    New Jersey Attorney General's Office
                                    124 Halsey Street, 5th Floor
                                    Newark, NJ 07102
                                    239-822-6123
                                    robert.holup@law.njoag.gov

                                    Counsel for Plaintiff New Jersey

                                    Mark F. Swanson
                                    Cholla Khoury
                                    New Mexico Office of the Attorney General
                                    408 Galisteo St.
                                    Santa Fe, NM 87504
                                    Tel: 505.490.4885
                                    mswanson@nmag.gov
                                    ckhoury@nmag.gov

                                    Counsel for Plaintiff New Mexico

                                    Parrell D. Grossman
                                    Director
                                    Elin S. Alm
                                    Assistant Attorney General
                                    Consumer Protection & Antitrust Division
                                    Office of the Attorney General
                                    1050 E. Interstate Ave., Suite 200
                                    Bismarck, ND 58503
                                    701-328-5570
                                    pgrossman@nd.gov
                                    ealm@nd.gov

                                    Counsel for Plaintiff North Dakota




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                                    Beth Ann Finnerty
                                    Mark Kittel
                                    Jennifer Pratt
                                    Office of The Attorney General of Ohio,
                                    Antitrust Section
                                    30 E Broad Street, 26th Floor
                                    Columbus, OH 43215
                                    614-466-4328
                                    beth.finnerty@ohioattorneygeneral.gov
                                    mark.kittel@ohioattorneygeneral.gov
                                    jennifer.pratt@ohioattorneygeneral.gov

                                    Counsel for Plaintiff Ohio

                                    Caleb J. Smith Assistant Attorney General
                                    Consumer Protection Unit
                                    Office of the Oklahoma Attorney General
                                    313 NE 21st St
                                    Oklahoma City, OK 73105
                                    Tel: (405) 522-1014
                                    Caleb.Smith@oag.ok.gov

                                    Counsel for Plaintiff Oklahoma

                                    Cheryl Hiemstra
                                    Oregon Department of Justice
                                    1162 Court St NE
                                    Salem, OR 97301
                                    503-934-4400
                                    cheryl.hiemstra@doj.state.or.us

                                    Counsel for Plaintiff Oregon

                                    Tracy W. Wertz
                                    Joseph S. Betsko
                                    Pennsylvania Office of Attorney General
                                    Strawberry Square
                                    Harrisburg, PA 17120
                                    Tel: (717) 787-4530
                                    jbetsko@attorneygeneral.gov
                                    twertz@attorneygeneral.gov

                                    Counsel for Plaintiff Pennsylvania




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                                    Johan M. Rosa Rodríguez
                                    Assistant Attorney General Antitrust
                                    Division
                                    Puerto Rico Department of Justice
                                    PO Box 9020192
                                    San Juan, Puerto Rico 00902-0192
                                    Tel: (787) 721-2900, ext. 1201
                                    jorosa@justicia.pr.gov

                                    Counsel for Plaintiff Puerto Rico

                                    David Marzilli
                                    Rhode Island Office of the Attorney General
                                    150 South Main Street
                                    Providence, RI 02903
                                    Tel: (401) 274-4400
                                    dmarzilli@riag.ri.gov

                                    Counsel for Plaintiff Rhode Island

                                    Yvette K. Lafrentz
                                    Office of The Attorney General of
                                    South Dakota
                                    1302 E. Hwy 14, Suite1
                                    Pierre, SD 57501
                                    605-773-3215
                                    yvette.lafrentz@state.sd.us

                                    Counsel for Plaintiff South Dakota

                                    Ryan G. Kriger
                                    Office of The Attorney General of
                                    Vermont
                                    109 State St.
                                    Montpelier, VT 05609
                                    802-828-3170
                                    ryan.kriger@vermont.gov

                                    Counsel for Plaintiff Vermont




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                                    Sarah Oxenham Allen
                                    Tyler Timothy Henry
                                    Office of the Attorney General of Virginia
                                    Antitrust Unit/Consumer Protection Section
                                    202 N. 9th Street
                                    Richmond, VA 23219
                                    804-786-6557
                                    soallen@oag.state.va.us
                                    thenry@oag.state.va.us

                                    Counsel for Plaintiff Virginia

                                    Amy Hanson
                                    Washington State Attorney General
                                    800 Fifth Avenue, Suite 2000
                                    Seattle, WA 98104
                                    206-464-5419
                                    amy.hanson@atg.wa.gov

                                    Counsel for Plaintiff Washington

                                    Douglas Lee Davis
                                    Tanya L. Godfrey
                                    Office of Attorney General, State of West
                                    Virginia
                                    P.O. Box 1789
                                    812 Quarrier Street, 1st Floor
                                    Charleston, WV 25326
                                    304-558-8986
                                    doug.davis@wvago.gov
                                    tanya.l.godfrey@wvago.gov

                                    Counsel for Plaintiff West Virginia

                                    Benjamin Mark Burningham
                                    Amy Pauli
                                    Wyoming Attorney General's Office
                                    2320 Capitol Avenue
                                    Kendrick Building
                                    Cheyenne, WY 82002
                                    (307) 777-6397
                                    ben.burningham@wyo.gov
                                    amy.pauli@wyo.gov

                                    Counsel for Plaintiff Wyoming



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